Exhibit 1


 Merchant Name                                Def. No.
 Changsha Jpungsun Sci & Tech Co., Ltd.       54
 Longchuangda Trading                         243
 HENDRICK & TECH LIMITED                      259
 yugebaihuoshanghang                          264
 mochibaihuoshanghang                         275
 Aurorastar                                   290
 JIMIQIANG STORE                              307
 小丸子的店铺                                       314
 YU DINGYA                                    328
 jinfangcheng                                 338
 Warm Home decor                              342
  ishiquguikelaizhilengshebeidian             343
  Eypidlighting                               393
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